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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


 BRADLEY C. REIFLER,
                                       Appellant,     No. 7:18-cv-02559-CS
                          -v-
                                                      On appeal from the United
 NORTH CAROLINA MUTUAL LIFE                           States Bankruptcy Court
 INSURANCE COMPANY,                                   for the Southern District of
                                                      New York
                                       Appellee.


               APPELLEE’S MOTION TO DISMISS APPEAL

      Appellant Bradley C. Reifler (“Reifler”) seeks to appeal a bankruptcy court

order holding him in civil contempt. The Bankruptcy Court entered the order after

it made the factual determination that Reifler had acted in bad faith and willfully

violated a discovery order requiring him to turn over all of his Electronic Devices

(as defined below). That discovery order was only necessary because Reifler failed

to produce relevant documents and e-mails during discovery and then admitted that

he had deleted potentially responsive emails.

      The civil contempt order was undoubtedly a proper exercise of the Bankruptcy

Court’s discretion.    This Court, however, need not determine whether the

Bankruptcy Court abused its discretion, because this appeal suffers from threshold

deficiencies that warrant dismissal.




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      First, this Court lacks jurisdiction over this appeal under 28 U.S.C. § 158(a)(3)

because Reifler has neither sought, nor obtained leave to appeal the interlocutory,

civil contempt order.

      Second, this Court should dismiss the appeal under Rule 8003(a)(2) because

Reifler has failed to take basic steps necessary to prosecute this appeal, such as

paying the filing fee or timely filing the mandatory designation of items to be

included in the record and statement of the issues to be presented (“Designation and

Statement”).

                                 BACKGROUND

      On May 1, 2017, Appellee, North Carolina Mutual Life Insurance Company

(“NCM”) filed a complaint against Reifler with the United States Bankruptcy Court

for the Southern District of New York (the “Bankruptcy Court”), which initiated an

adversary proceeding in Reifler’s chapter 7 bankruptcy case.            [See Verified

Complaint, NCM v. Reifler, No 17-09016-CGM (Bank. S.D.N.Y.) (Doc. 1) (the

“Complaint”).]     The Complaint alleges that Reifler defrauded NCM and

misappropriated $34 million in trust assets that Reifler managed in a fiduciary

capacity. [Id. ¶¶ 4, 27–62.] The Complaint seeks, among other things, to prevent

Reifler from obtaining a discharge of NCM’s claims against him. [Id. at p. 20–21.]

      During discovery, NCM served document requests on Reifler, including

requests for certain e-mail communications.        [See Motion for Order Finding


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Defendant in Contempt at 2, NCM, No 17-09016-CGM (Doc. 104) (the “Contempt

Motion”.] Over the course of three months, Reifler had produced a total of just four

e-mail communications before informing NCM that he “regularly deletes his email

communications.” [Id.] To avoid further spoliation, NCM sought an order requiring

Reifler to turn over his Electronic Devices (as defined in the Contempt Motion).

[Id.] The Bankruptcy Court agreed and entered an order on December 28, 2017—

the “ESI Order”—requiring Reifler to provide a list of all his Electronic Devices and

to turn over the devices to a court-approved vendor for imaging within two days.

[Id. at 3–4.]

       By January 16, 2018—more than two weeks after the deadline—Reifler still

had not complied with the ESI Order. [Id. at 4–7.] Reifler had failed to provide a

complete list of his Electronic Devices, and when the vendor arrived at Reifler’s

office to image his devices, before the vendor could complete its work Reifler

demanded that the vendor leave and threatened to call building security. [Id.] NCM

thus moved to hold Reifler in civil contempt of the ESI Order.

       On February 6, 2018, after conducting a hearing and evaluating the relevant

facts, the Bankruptcy Court held Reifler in civil contempt. [See Order Finding

Defendant in Contempt and Imposing Sanctions, NCM, No 17-09016-CGM (Doc.

117) (the “Contempt Order”).] The court found Reifler was in “willful violation of

this Court’s ESI Order,” that he was “acting in bad faith,” and that he was “directly


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complicit in his contempt of the ESI Order.” [Id. at 2–3.] The court ordered Reifler

to fully comply with the ESI Order by February 2, 2017. [Id. at 3.] The court also

ordered Reifler to pay “. . . all of North Carolina Mutual’s attorneys’ fees and costs in

connection with bringing the Contempt Motion, the preparation of this order and its

ongoing efforts to seek Defendant’s compliance with the ESI Order since its entry,” and

“all of the Vendor’s fees and costs in connection with performing its services under the

ESI Order and this order,” within ten days of NCM filing affidavits establishing those

fees and costs. [Id. at 5.]

      On February 14, 2018, Reifler filed a notice of appeal, seeking appellate

review of the Contempt Order. [Notice of Appeal (Doc. 1).] The notice of appeal

was not accompanied by a copy of the order being appealed, the mandatory filing

fee, or a motion for leave to appeal an interlocutory order. [Id.]

                                    ARGUMENT

I.    THIS APPEAL SHOULD BE DISMISSED BECAUSE REIFLER DID
      NOT OBTAIN LEAVE TO APPEAL AN INTERLOCUTORY ORDER.

      Appellate jurisdiction is generally limited to final orders and judgments. See,

e.g., City of New York v. Mickalis Pawn Shop, LLC, 645 F.3d 114, 140 (2d Cir. 2011)

(“The core of appellate jurisdiction is to review ‘final decisions’ of the district

courts.”). Under 28 U.S.C. § 158(a)(3), a district court can assume appellate

jurisdiction over an interlocutory bankruptcy order only if the appellant seeks and

obtains leave to appeal. See also Fed. R. Bank. P. 8004. Leave to appeal is limited


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to interlocutory orders involving: (1) a controlling question of law, as to which there

is (2) a substantial ground for difference of opinion, and where (3) an immediate

appeal would materially advance the ultimate termination of the litigation. See

Music Mobile, LLC v. Newman (In re Stage Presence Inc.), 16 cv 8219(DLC), 2016

U.S. Dist. LEXIS 164488, at *5-6 (S.D.N.Y. Nov. 29, 2016). Even where these

factors are met, interlocutory appeals are within the discretion of the district court

and should be “strictly limited” to cases involving “exceptional circumstances.” Id.

at *6 (quoting Flor v. BOT Fin. Corp., 79 F.3d 281, 284 (2d Cir. 1996)).

      “Civil contempt orders against parties to an action are non-final orders; as

such, they cannot be immediately appealed absent leave from the court.” Fletcher

v. Ball (In re Soundview Elite, Ltd.), 15 Civ. 5666 (KPF), 2016 U.S. Dist. LEXIS

38494, at *24-25 (S.D.N.Y. Mar. 23, 2016) (citing OSRecovery, Inc. v. One Groupe

Intern Inc., 462 F.3d 87, 92 (2d Cir. 2006)); see also Wilson v. Creditors’ Comms.

of Commodore Int’l Ltd. (In re Commodore Bus. Machs.), 246 B.R. 476, 488

(S.D.N.Y. 2000) (“It is axiomatic that a finding of civil contempt is not final for

purposes of appeal until a sanction is imposed and a final judgment is entered.”). In

Fletcher, the appellant attempted to appeal a civil contempt order requiring him to

pay $50,000 in attorneys’ fees. See id. This Court dismissed the appeal, holding

that it “lacks jurisdiction over [the] appeal, as a final judgment has not yet been




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entered in the underlying adversary proceeding and leave to file an interlocutory

appeal has been neither requested nor granted.” Id.

      This appeal should be dismissed for lack of jurisdiction. The Contempt Order

is undoubtedly a non-final order, as no final judgment has been entered. See Wilson,

246 B.R. at 488. And just as in Fletcher, Reifler has not even sought, much less

obtained, leave to appeal the contempt order. 2016 U.S. Dist. LEXIS 38494 at *24-

25. Nor could Reifler show that leave to appeal is warranted. The Contempt Order’s

factual finding that Reifler was in willful bad faith violation of the ESI Order does

not involve a “controlling question of law.” See Music Mobile, 2016 U.S. Dist.

LEXIS 164488 at *5-6. In addition, an order reversing the Contempt Order would

not advance the ultimate termination of the litigation. See id. Because the Court

lacks jurisdiction over this appeal, this Motion should be granted and the appeal

should be dismissed.

II.   THIS APPEAL SHOULD BE DISMISSED FOR WANT OF
      PROSECUTION.

      Federal Rule of Bankruptcy Procedure 8003(a)(2) provides that “[a]n

appellant’s failure to take any step other than the timely filing of a notice of appeal”

is grounds for the district court “to act as it considers appropriate, including

dismissing the appeal.” The steps an appellant must take in properly prosecuting a

bankruptcy appeal include (i) that the Notice of appeal must “be accompanied by the

judgment, order, or decree, or the part of it, being appealed” under Rule


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8003(a)(3)(B); (ii) paying the prescribed filing fee with the notice of appeal under

Rule 8003(a)(3)(C); and (iii) filing “a designation of the items to be included in the

record on appeal and a statement of the issues to be presented” within 14 days after

filing the notice of appeal under Rule 8009(a)(1).

      The Second Circuit has made clear that “[f]iling a Designation and Statement

is mandatory,” because “a bankruptcy appeal cannot proceed without a Designation

and Statement.” Lynch v. U.S. (In re Lynch), 430 F.3d 600, 603, 605 (2d Cir. 2005).

Where “a party fails to file a Designation and Statement on time” and is unable to

show excusable neglect to allow an untimely filing, “the appeal has to be at an

end.” Id. at 605. This Court has thus routinely dismissed bankruptcy appeals under

Rule 8003(a)(2) when the appellant does not file a timely designation and statement.

See, e.g., Carlebach v. Togut (In re 199 East 7th St. LLC), No. 17-CV-545 (RA),

2017 U.S. Dist. LEXIS 77019, at *2-6 (S.D.N.Y. May 19, 2017); Cole v. MF Glob.

Holdings Ltd. (In re MF Global Holdings Ltd), 1:17-cv-167-GHW, 2017 U.S. Dist.

LEXIS 26276, at *2-3 (S.D.N.Y. Feb. 23, 2017); Helen-May Holdings, LLC v.

Geltzer, No. 13 Civ. 6643 (RJS), 2013 U.S. Dist. LEXIS 191626, at *3-5 (S.D.N.Y.

Dec. 6, 2013), aff’d, 582 F. App’x 61 (2d Cir. 2014); Miller v. Sapir (In re Miller),

08 Civ. 4305 (JGK), 2009 U.S. Dist. LEXIS 5187, at *12 (S.D.N.Y. Jan. 23, 2009);

Andruzzi v. Pryor, 07-CV-452 (SJF), 2007 U.S. Dist. LEXIS 30173, at *3 (E.D.N.Y.

Apr. 4, 2007).


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      Here, Reifler filed his notice of appeal on February 14, 2018. [Notice of

Appeal (Doc. 1).] The notice of appeal was not accompanied by the order being

appealed or the prescribed filing fee, and Reifler still has neither paid the fee nor

included the Contempt Order in his filing. [Id.] This Court should dismiss this

appeal pursuant to Rule 8003(a)(2) for these reasons alone. See, e.g., Patterson v.

Bronx Lebanon Hosp., No. 11-4076-pr (2d Cir. Nov. 15, 2011) (Doc. 21) (dismissed

for failure to pay filing fee); Henry v. Pergament, 11 CV 4481(SJF), 2012 U.S. Dist.

LEXIS 51827, at *5 (E.D.N.Y. Apr. 11, 2012) (granting motion to dismiss where

appellants did not timely file notice of appeal, “nor did they ever pay the required

filing fee or seek waiver of the filing fee from this Court.”).

      Moreover, Reifler’s failure to timely file his Designation and Statement is an

additional independent basis for dismissing this appeal. Rule 8009(a)(1)(B) requires

the filing of a designation and statement within fourteen days of filing the notice of

appeal. Reifler’s Notice of Appeal was filed February 14, 2018, and his Designation

and Statement were therefore required to be filed by February 28, 2018. [See Notice

of Appeal (Doc. 1).] Reifler did not file his Designation and Statement by the

February 28, 2018 deadline. Nor did he seek an extension of the deadline, file an

untimely Designation and Statement, or seek leave after the deadline to file his

Designation and Statement. This lack of prosecution of the appeal by Reifler

warrants its dismissal under Rule 8003(a)(2). See, e.g., Carlebach, 2017 U.S. Dist.


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LEXIS 77019 at *2-6 (“Carlebach’s failure to comply with Rule 8009 warrants

dismissal of this appeal.”); Cole, 2017 U.S. Dist. LEXIS 26276 at *2-3 (“[W]here

Appellant has failed to comply with the clear dictates of Rule 8009, the Court

concludes that dismissal of this appeal is warranted.”); Helen-May Holdings, LLC,

2013 U.S. Dist. LEXIS 191626, at *3-5 (“Appellant’s late [Rule 8009] filing is not

excused . . . . [T]his appeal cannot proceed.); Miller, 2009 U.S. Dist. LEXIS 5187,

at *12 (refusing to reinstate dismissed appeal; appellant “offers no plausible

explanation for his failure to file a timely designation and statement”); Andruzzi,

2007 U.S. Dist. LEXIS 30173, at *3 (dismissing appeal for failure to “timely serve

a designation and statement of the issues”).

                                 CONCLUSION

      For all of the foregoing reasons, NCM respectfully requests that this Court (a)

grant the Motion, (b) dismiss this appeal, and (c) award NCM its attorneys’ fees and

double its costs under Federal Rule of Bankruptcy Procedure 8020, the basis for

which NCM will set forth in a separate motion.




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Dated: New York, New York
       March 29, 2018

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                           CERTIFICATE OF SERVICE

      I hereby certify that on this 29th day of March, 2018, the foregoing document

was electronically transmitted to the Clerk’s Office using the CM/ECF System for

filing and transmittal to registered participants of the CM/ECF system.

      I further certify that on this 29th day of March, 2018, I served the attached

document along with copies of unpublished cases cited therein by mail on the

following, who are not registered participants of the CM/ECF system:

      Bradley C. Reifler

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/s/ Betty Rios




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